Case 5:19-cv-02108-JGB-SP Document 1-3 Filed 11/04/19 Page1lof5 Page ID #:59

EXHIBIT “C”
Goldberg Segalla LLP
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Los Angeles, CA 90017

213.415.7200

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Attorneys for Defendant
TRISTAR PRODUCTS, INC.

Page 20f5 Page ID #:60

SUPERIOR COURT OF THE STATE OF CALIFORNIA

FOR THE COUNTY OF RIVERSIDE

CARMEN THOMAS BUTLER and UNICE
BUTLER,

Plaintiff,

TRISTAR PRODUCTS, INC. and DOES 1
through 100, Inclusive,

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VS. )
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Defendants. )
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CASE NO.: RIC1904666

[Complaint Filed on September 12, 2019]
Trial Date: None

NOTICE TO ADVERSE PARTIES AND

THE SUPERIOR COURT OF REMOVAL
OF ACTION

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD, AND TO THE

CLERK OF THE SUPERIOR COURT OF THE STATE OF CALIFORNIA, IN AND FOR

THE COUNTY OF RIVERSIDE:

PLEASE TAKE NOTICE that Defendant TRISTAR PRODUCTS, INC., pursuant to 28

U.S.C. § 1441, filed a Notice of Removal of this action in the United States District Court for the

Central District of California- Eastern Division on November 4, 2019. The Superior Court of the

State of California, County of Riverside, is hereby advised that, pursuant to 28 U.S.C. §§ 1446, the

filing of the Notice of Removal in the United States District Court, together with the service and

filing of a copy of that Notice with this Court, effects the removal of the above-entitled action,

which can proceed no further in this action,

unless and until such time as the action may be

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NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF ACTION

24438556.v1

 

 
Goldberg Segalla LLP
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‘DATED: November 4, 2019

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remanded by order of the United States District Court. A copy of the Notice of Removal is attached
to this Notice as Exhibit A, and is served and filed herewith.

Defendant therefore reserves all defenses and objections to Plaintiffs’ Complaint, including
but not limited to, lack of personal jurisdiction, improper venue, forum non conveniens,
insufficiency of process, insufficiency of service of process, and failure to state a claim upon which

relief can be granted.

GOLDBERG SEGALLA, LLP

By: Lice ke. Ryn.

LISA P. GRUEN, ESQ.
AUBREE MACKEY, ESQ.
Attorneys for Defendant,
TRISTAR PRODUCTS, INC.

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NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF ACTION
24438556.v1

 
Goldberg Segalla LLP
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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

Tam employed in the County of Los Angeles, State of California. I am over the age of
eighteen and not a party to the within action; my business address is 777 Figueroa St., Ste., 2000,
Los Angeles, California 90017.

On November 4, 2019, I served the foregoing document described as

NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF
ACTION

on the interested parties in this action:
PLEASE SEE ATTACHED PROOF OF SERVICE LIST

by placing true and correct copies thereof enclosed in sealed envelopes addressed as follows:

Ps [>

BY MAIL. I caused such envelopes with postage thereon fully prepaid to be placed in the
United States mail in the County of Los Angeles.

BY PERSONAL SERVICE. I caused such envelopes to be delivered by hand to the offices
of the addressee.

BY FACSIMILE. I caused such documents to be sent to the address above via the facsimile
number indicated.

BY OVERNIGHT MAIL: By UPS, following ordinary business practices for collection
and processing of correspondence with said overnight mail service, the document listed
above was placed in a sealed envelope addressed to the parties set forth on the attached
Service List, and delivered to an authorized courier or driver authorized by the express
service carrier, with delivery fees fully prepaid or provided for.

I am “readily familiar” with this firm’s practice of collection and processing correspondence
for mailing. Under that practice it would be deposited with U.S. postal service on that same day in the
ordinary course of business. I am aware that on motion of party served, service is presumed invalid if
postal cancellation date or postage meter date is more than one (1) day after date of deposit for mailing
in affidavit. :

Executed on November 4, 2019, at Los Angeles, California.

X ~~ (STATE) | declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

  

 

Amber Taylor

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NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF ACTION
24438556.v1

 

 
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SERVICE LIST
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NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF ACTION

 

 
